Case 3:07-cr-02016-IEG        Document 907        Filed 01/22/10      PageID.12768         Page 1 of
                                                 2


  1
  2
  3
  4
  5
  6
  7
  8                            UNITED STATES DISTRICT COURT
  9                         SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    UNITED STATES OF AMERICA,                                 CASE NO. 07cr2016-IEG
 12                                          Plaintiff,          Order Denying Motion for
              vs.                                                Reconsideration [Doc. No. 901]
 13
       DOLORES LOVIN (5); MARY
 14    ARONSON (6); PHILIP JAMES BIDWELL
       (12); RICHARD EDWARD KOCH (11);
 15    JEFFREY A. LIGHT (14); TRACY O’NEAL
       TYLER (15); PETER P. BRAGANSA (16),
 16
                                          Defendants.
 17
 18          Defendant Philip James Bidwell has filed a motion for reconsideration of the Court’s
 19   January 19, 2010 order declining to include the following question on the proposed jury
 20   questionnaire:
 21          In a criminal case, a defendant is presumed innocent unless and until the
             prosecution proves guilt beyond a reasonable doubt. Regardless, do you think that
 22          when someone is accused of a serious crime, he or she should be required to
             provide his or her innocence?
 23
      Defendant argues the question is of utmost importance to help insure a fair trial.
 24
             The Court remains convinced this is an area of inquiry more appropriately reserved for
 25
      attorney-conduct voir dire. The proposed question is purely philosophical, asking prospective
 26
      jurors whether they believe the law is correct rather than whether they are willing to apply the law.
 27
      Although this is an appropriate area of inquiry, both the Court and counsel should have the
 28


                                                          -1-                                          07cr2016
Case 3:07-cr-02016-IEG        Document 907       Filed 01/22/10      PageID.12769        Page 2 of
                                                2


  1   opportunity to hear and observe prospective jurors’ responses. Asking the question during
  2   attorney-conducted voir dire, rather than in a written questionnaire, not only allows counsel and
  3   the Court to fully explain the constitutional importance of the presumption of innocence, but also
  4   allows counsel and the Court to follow-up on any responses to determine whether the prospective
  5   juror could be fair and impartial.
  6          The Court DENIES defendant Bidwell’s motion for reconsideration.
  7          IT IS SO ORDERED.
  8   DATED: January 22, 2010
  9
                                                     IRMA E. GONZALEZ, Chief Judge
 10                                                  United States District Court
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28


                                                      -2-                                            07cr2016
